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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ANGEL BUSTOS-AGUIRRE, et al.,

      Defendants.                                              No. 04-CR-30029-DRH

                                        ORDER

HERNDON, District Judge:

             Angel Bustos-Aguirre, who was a defendant in this criminal proceeding,

has filed an Emergency Motion for Immediate Transfer of Custody (Doc. 288),

requesting he be returned to the correctional facility in Texas where he was housed

after being sentenced. Bustos-Aguirre plead guilty in this case as to Counts I and II

of the Second Superceding Indictment (Doc. 193) and was thereby sentenced to 120

months on each of the two Counts, to be served concurrently (Doc. 222). Judgment

was entered herein on May 15, 2006.

             In his Motion, Bustos-Aguirre states that he was transferred from the

Texas correctional facility to the St. Clair County Jail in Belleville, Illinois, because

he was going to testify in the trial of a co-defendant, scheduled for sometime in

September, 2006. Since his transfer, said trial has been continued until March 12,

2007. The problem remains that Bustos-Aguirre is still being housed in the St. Clair

County Jail, where, he claims, he is being treated inappropriately by prison officials.

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            While the Court regrets that extraneous circumstances have caused

Bustos-Aguirre an extended tenure at St. Clair County Jail, it no longer has

jurisdiction to order a transfer, as he has already been sentenced and committed to

the custody of the United States Bureau of Prisons (see Doc. 222). Further, “[i]t is

well settled that the decision where to house inmates is at the core of prison

administrators’ expertise.” McKune v. Lile, 536 U.S. 24, 39 (2002)(“The Court

has considered the proposition that a prisoner in a more comfortable facility

might begin to feel entitled to remain there throughout his term of

incarceration. The Court has concluded, nevertheless, that this expectation ‘is

too ephemeral and insubstantial to trigger procedural due process protections

as long as prison officials have discretion to transfer him for whatever reason or

for no reason at all.’”)(quoting Meachum v. Fano, 427 U.S. 215, 228 (1976)).

            If Bustos-Aguirre is the victim of certain civil rights violations, he will

need to address his grievances through the prison administrative process and/or by

filing a § 1983 complaint. Accordingly, Bustos-Aguirre’s Emergency Motion for

Transfer (Doc. 288) must be DISMISSED for lack of jurisdiction.

            IT IS SO ORDERED.

            Signed this 15th day of November, 2006.

                                                      /s/       David RHerndon
                                                      United States District Judge




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